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10
11                        UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA
12
                                            )   Case No.: 2:17-cv-00317-JJT
13   Tiffany Schoeneman,
                                            )
14                                          )   NOTICE OF SETTLEMENT
                   Plaintiff,               )
15
                           v.               )
16                                          )
17   Stellar Recovery, Inc. and             )
     Comenity Bank;                         )
18                                          )
19                                          )
                   Defendants.
                                            )
20
      Please take notice that the parties have settled this matter in its entirety. The
21   parties request all hearings, including the settlement conference with Judge Willett
22   be vacated. The parties further request 45 days from the date of this notice to file a
23   stipulation to dismiss with each party to bear their own attorney’s fees and costs.
24
25   Dated: January 31, 2017                             Respectfully submitted,
26
27                                                  BY: /S/ DAVID MCGLOTHLIN______
                                                           DAVID MCGLOTHLIN, ESQ.
28                                                         ATTORNEY FOR PLAINTIFF
     NOTICE OF SETTLEMENT                       1
